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 8
                                  UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11    FEDERAL TRADE COMMISSION,                        Case No. 2:16-cv-02022-GMN-VCF
12           Plaintiff,
13           v.                                        STIPULATION AND [PROPOSED]
                                                       ORDER TO EXTEND RESPONSE
14    OMICS GROUP INC., et al.,                        DEADLINE
15           Defendants.
16

17          Defendants, OMICS GROUP INC., IMEDPUB LLC, CONFERENCE SERIES LLC,

18   and SRINUBABU GEDELA, by and through counsel of record, D. Neal Tomlinson and

19   Kristina R. Kleist, and Plaintiff, FEDERAL TRADE COMMISSION, by and through counsel of

20   record, Gregory A. Ashe and Michael E. Tankersley, hereby agree and stipulate as follows:

21          1. On May 1, 2018, Plaintiff filed its Motion to for Summary Judgment, (Dkt. No. 86).

22          2. Defendants also filed their Motion for Summary Judgment on May 1, 2018 (Dkt. No.

23                89).

24          3. Plaintiff’s Motion for Summary Judgment is quite extensive, being over 50 pages

25                itself and referencing 27 exhibits, including a declaration with exhibits of over 1,000

26                pages.
27          4. Plaintiff filed their Opposition to Defendants’ Motion for Summary Judgment on

28                May 22, 2018 (Dkt. No. 97).

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 1          5. Plaintiff also filed a Motion to Strike the Declaration of Kishore Vattikoti, part of

 2             Defendants’ Motion for Summary Judgment, on May 22, 2018 (Dkt. No. 96).

 3          6. This Court granted a stipulation for extension of time for the parties to respond to the

 4             respective Motions for Summary Judgment (Dkt. No. 98).

 5          7. Currently, responses to the Motions for Summary Judgment are due on June 1, 2018

 6             and Defendants’ response to the Motion to Strike the Declaration of Kishore Vattikoti

 7             is due on June 5, 2018.

 8          8. Additionally, because Plaintiff has already filed their Opposition to Defendants’

 9             Motion for Summary Judgment, Defendants’ Reply is due June 5, 2018.

10          9. Defense counsel has still been dealing with pressing family medical issues which has

11             continued to require counsel to be out of the office, and additional time is needed to

12             confer with Defendants and respond to the pending filings.

13          10. Plaintiff’s counsel has agreed to extend the June 1, 2018 response date to the Motion

14             for Summary Judgment and the June 5, 2018 response date for the Motion to Strike

15             and the Reply to Plaintiff’s Opposition to Defendants’ Motion for Summary

16             Judgment to June 8, 2018.

17          11. This Stipulation is being made in good faith between and at the request of both

18             parties, and not for purposes of delay.

19   HYPERION ADVISORS                                   FEDERAL TRADE COMMISSION
20   Dated this 31st day of May, 2018.                   Dated this 31st day of May, 2018.
21    /s/ D. Neal Tomlinson                               /s/ Gregory A. Ashe
     D. NEAL TOMLINSON                                   ALDEN F. ABBOTT
22                                                       General Counsel
     Nevada Bar No. 06851
     KRISTINA R. KLEIST                                  GREGORY A. ASHE
23                                                       MICHAEL E. TANKERSLEY
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 1                                             ORDER
 2          Pursuant to the stipulation of the parties, the deadline for Defendants to file their
 3
     response to Plaintiff’s Motion for Summary Judgment, their reply to Plaintiff’s Opposition to
 4
     Defendants’ Motion for Summary Judgment, and their response to Plaintiff’s Motion to Strike is
 5
     hereby extended to June 8, 2018.
 6
     IT IS SO ORDERED.
 7
                        14 day of June, 2018.
            Dated this _____
 8

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10                                                       Gloria M. Navarro, Chief Judge
                                                         UNITED STATES DISTRICT COURT
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                                     CERTIFICATE OF SERVICE
 1

 2          The undersigned hereby certifies that on May 31, 2018, a true and correct copy of the
 3   foregoing STIPULATION AND [PROPOSED] ORDER TO EXTEND RESPONSE
 4   DEADLINE was filed electronically with the United States District Court for the District of
 5   Nevada using the CM/ECF system, which sent notification to all parties of interest participating
 6   in the CM/ECF system.
 7

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 9                                                         /s/ D. Neal Tomlinson
                                                           Attorney for Defendants
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